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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

CLAUDIA ZARNESKY, individually
and on behalf of all others similarly
situated,

                Plaintiff,                  Case No. __________________

v.                                          State Court Case No. 2021-30199
                                                      CICI
FRONTIER AIRLINES, INC.,
                                            Class Action
                Defendant.


                 NOTICE OF REMOVAL OF CIVIL ACTION

      PLEASE TAKE NOTICE that Defendant Frontier Airlines, Inc. (“Frontier

Airlines” or “Defendant”), by and through its counsel, hereby files this notice of

removal in the above-captioned action, currently pending in the Circuit Court of

the Seventh Judicial Circuit in and for Volusia County, Florida, as Case No. 2021-

30199 CICI (the “State Court Action”). This removal is made pursuant to 28 U.S.C.

§§ 1332, 1441, 1446, and 1453. For the reasons set forth below, this Court has

subject matter jurisdiction.

I.    BACKGROUND

      1.    On or about February 15, 2021, Plaintiff Claudia Zarnesky,

individually and on behalf of all others similarly situated, commenced a putative

class action against Frontier Airlines by filing a Class Complaint and Demand for

Jury Trial (the “Complaint”) in the Circuit Court of the Seventh Judicial Circuit in
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and for Volusia County, Florida. A true and correct copy of the Complaint is

attached hereto as Exhibit A.

      2.     On February 23, 2021, Frontier Airlines was served with the

Complaint. A true and correct copy of the Service of Process is attached hereto as

Exhibit B.

      3.     True and correct copies of all process, pleadings, and orders in the

State Court Action and not previously referenced are attached hereto as Exhibit C.

      4.     The Complaint alleges that Defendant unlawfully intercepted

Plaintiff’s electronic communications in violation of the Florida Security of

Communications Act, Fla. Stat. Ann. § 934.01, et seq. (“FSCA”). (Ex. A ¶ 1.)

      5.     This Notice of Removal is timely under 28 U.S.C. § 1446(b), as it is

filed within thirty (30) days after Plaintiff’s service of the Complaint upon Frontier

Airlines.

      6.     Nothing in this Notice of Removal shall constitute a waiver of

Defendant’s right to assert any defense, including motions pursuant to Federal

Rule of Civil Procedure 12, as the case progresses.

II.   VENUE

      7.     Venue is proper under 28 U.S.C. § 1441(a) because this Court is the

United State District Court for the district and division embracing the location

where the State Court Action was pending.




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III.   JURISDICTION

       8.     This Court has jurisdiction over this action under the Class Action

Fairness Act (“CAFA”), codified under 28 U.S.C. § 1332(d) and § 1453, because: (A)

it meets CAFA’s definition of a class action; (B) the putative class consists of more

than 100 members; (C) there is minimal diversity of citizenship; and (D) the matter

in controversy exceeds the sum or value of $5,000,000, exclusive of interest and

costs. See 28 U.S.C. § 1332(d).

       A.     This Action Meets the “Class Action” Definition Under
              CAFA.

       9.     The State Court Action is a “class action.” CAFA provides:

              [T]he term “class action” means any civil action filed
              under rule 23 of the Federal Rules of Civil Procedure or
              similar State statute or rule of judicial procedure
              authorizing an action to be brought by 1 or more
              representative persons as a class action . . . .

28 U.S.C. § 1332(d)(1)(B). CAFA further provides “[t]his subsection shall apply to

any class action before or after the entry of a class certification order by the court

with respect to that action.” 28 U.S.C. § 1332(d)(8).

       10.    Plaintiff filed the State Court Action as a putative class action. (See

Ex. A at 1 (titled “Class Action Complaint”); id. ¶ 1 (“This is a class action . . . .”), id.

¶¶ 20-29 (section entitled “Class Action Allegations”).) Plaintiff also asserts that

she seeks to represent a class, defined as:

              [a]ll persons residing within the State of Florida (1) who
              visited Defendant’s website and (2) whose electronic
              communications were intercepted by Defendant or on
              Defendant’s behalf (3) without their prior consent.



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(Ex. A ¶ 20.) The class definition excludes Defendant as well as Defendant’s

employees or agents. (Id. ¶ 21.) Accordingly, the Complaint clearly qualifies as a

“class action” under CAFA.

        B.    The Putative Class Exceeds 100 Members.

        11.   Plaintiff concedes that the putative class is “believed to be no less than

100 individuals.” (Id. ¶ 22; see also Exhibit D, Declaration of Jacob Maloney,

¶ 4.) Accordingly, the proposed class has at least one hundred members in the

aggregate. 28 U.S.C. § 1332(d)(5)(b).1

        C.    This Action Meets CAFA’s Minimal Diversity Requirement.

        12.   CAFA applies when “any member of a class of plaintiffs is a citizen of

a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A). “Under CAFA,

federal courts . . . have original jurisdiction over class actions in which the amount

in controversy exceeds $5,000,000 and there is minimal diversity (at least one

plaintiff and one defendant are from different states).” McDaniel v. Fifth Third

Bank, No. 14-11615, 2014 U.S. App. LEXIS 10489, *2-*3 (11th Cir. June 5, 2014)

(citing Evans v. Walter Indus., Inc., 449 F.3d 1159, 1163 (11th Cir. 2006)).

        13.   Plaintiff alleges she is a citizen of Volusia County, Florida. (Ex. A ¶ 5.)

        14.   As a corporation, Frontier Airlines is deemed to be a citizen of its state

of incorporation and the state where it maintains its principal place of business.

28 U.S.C. § 1332(c)(1). Frontier Airlines is a Colorado corporation, and Plaintiff


1 Although the putative class alleged by Plaintiff meets the threshold for jurisdictional
purposes, Frontier Airlines denies that this action ultimately will prove appropriate for
class treatment.


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accurately alleges that Frontier Airlines has its principal place of business in

Denver, Colorado. (Ex. A. § 6.) Frontier Airlines is therefore a citizen of Colorado

for purposes of diversity jurisdiction. See 28 U.S.C. § 1332(c)(1).

      15.     Accordingly, because Plaintiff is a citizen of Florida, and Frontier

Airlines is a citizen of Colorado, CAFA’s minimal diversity requirement is satisfied.

28 U.S.C. § 1332(d)(2)(A).

      D.     This Action Meets CAFA’s Amount-in-Controversy
             Requirement.

      16.    CAFA creates original jurisdiction for “any civil action in which the

matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest

and costs.” 28 U.S.C. § 1332(d)(2). The claims of the individual class members are

aggregated to determine whether the matter in controversy exceeds $5,000,000.

28 U.S.C. § 1332(d)(6). The amount-in-controversy analysis considers the amount

the plaintiff has placed in controversy, not the amount the plaintiff is likely to

recover.    McDaniel, 2014 U.S. App. LEXIS 10489 at *3 (“[T]he plaintiff[’s]

likelihood of success on the merits is largely irrelevant to the court’s jurisdiction

because the pertinent question is what is in controversy in the case, not how much

the plaintiffs are ultimately likely to recover.”) (citing Pretka v. Kolter City Plaza

II, Inc., 608 F.3d 744, 751 (11th Cir. 2010) (emphasis in original).

      17.    To satisfy this requirement, “a defendant’s notice of removal need

include only a plausible allegation that the amount in controversy exceeds the

jurisdictional threshold; the notice need not contain evidentiary submissions.”

Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 81 (2014); see also


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Anderson v. Wilco Life Ins. Co., 943 F.3d 917, 925 (11th Cir. 2019) (same).

Nevertheless, Frontier Airlines has submitted a declaration in support of its notice

of removal that demonstrates the amount in controversy requirement is satisfied.

(See Ex. D § 4.) When determining whether the $5,000,000 threshold has been

surpassed, “a court may rely on evidence put forward by the removing defendant,

as well as reasonable inferences and deductions drawn from that evidence.”

Anderson, 943 F.3d at 925 (citing S. Fla. Wellness, Inc. v. Allstate Ins. Co., 745

F.3d 1312, 1315 (11th Cir. 2014)). Frontier Airlines denies all liability alleged in the

Complaint and further denies that class treatment is appropriate for this Action.

However, if damages or restitution were awarded on Plaintiff’s claims, the

aggregate amount as to the putative class would satisfy the amount-in-controversy

requirement.

      18.    Though Plaintiff has not specified the amount of relief she seeks, the

allegations in the Complaint (as well as reasonable inferences and deductions

drawn from those allegations) make clear that the amount Plaintiff has placed in

controversy is easily above $5,000,000, exclusive of interests and costs. Indeed,

Plaintiff concedes that the proposed class of Florida residents is “numerous and

geographically dispersed,” and that “the aggregate damages sustained by the Class

are potentially in the millions of dollars . . . .” (Ex. A ¶¶ 22, 28.)

      19.    Specifically, the Complaint seeks declarative and injunctive relief,

liquidated damages, punitive statutory damages, and attorney’s fees and costs. (Id.

¶¶ 39–41.) The liquidated damages sought by Plaintiff are set forth by the FSCA,



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which provides for “liquidated damages computed at the rate of $100 a day for

each day of violation or $1,000, whichever is higher.” (Ex. A ¶ 39.) The statute of

limitations for an FSCA claim is two years. Fla. Stat. Ann. § 934.10(3).

      20.    Here, Frontier Airlines records show that there were more than 5,000

airline purchases made on the Frontier Airlines website to unique names and

billing addresses in Florida during the two years prior to the filing of the

Complaint. (Ex. D ¶ 4.) Thus, there necessarily were at least 5,000 Floridian

visitors to Frontier Airlines’ website during the period Plaintiff alleges Frontier

Airlines was intercepting website visitor’s electronic communications.         Since

Plaintiff seeks statutory damages of at least $1,000 per class member, the amount

of alleged statutory damages alone exceeds $5,000,000. Plaintiff’s claims for

attorney’s fees and injunctive relief, including the cost of implementing the

requested relief, only further confirm that the amount in controversy requirement

is met.

IV.   NOTICE

      21.    As required by 28 U.S.C. § 1446(d), a copy of this notice of removal is

being served upon Plaintiff’s counsel and a copy is being filed with the Clerk of the

Circuit Court of the Seventh Judicial Circuit in and for Volusia County, Florida.

V.    CONCLUSION

      WHEREFORE, Defendant Frontier Airlines, Inc. respectfully requests this

Court to assume full jurisdiction over the cause herein, as provided by law, and to

issue all necessary orders and process.



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                                        Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 24, 2021, I electronically filed the

foregoing and its attachments with the Clerk of the Court by using the CM/ECF

system and sent the foregoing and its attachments via email to the following

counsel of record:

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